
This was an application for a Writ of Error to a judgment of the Superior Court of King George. The applicant was indicted for Earceny, as follows : “Virginia, King George county, to wit: The jurors for the Commonwealth of Virginia, in and for the county of King George, upon their oaths present, that Thomas Taylor, late of the parish of *151in the said county of King- George, labourer, did, on the third day of October, in the year of our Cord, 1812, with force and arms, at the parish aforesaid, in the county aforesaid, one cow of a black color, of the price of $12, of the g-oods and chattels of one John G. Stuart, then and there being- found, feloniously did steal, take, and lead away, against the peace and dignity of the Commonwealth of Virginia.” "
The prisoner was convicted, and moved the said Court in arrest of judgment, for the following reasons: “1. Because the larceny in the Indictment mentioned is not expressly charged to have been committed within the jurisdiction of this Court; (a) nor is it in any manner averred to have been committed in the county over which this Court hath jurisdiction, because this Court is no where mentioned in the said Indictment, or Proceedings, nor does it in any shape appear that this Court hath any legal existence, or exercises jurisdiction over the county of King George.” The Superior Court adjudged that these reasons were insufficient to arrest the judgment, and now the prisoner, by Mr. Briggs, his Counsel, applied to this Court for a Writ of Error, to the judgment rendered against him.
This Court were of opinion that there was no error, and over-ruled the motion.

 See 1st Virginia Cases, p. 1 ; also the note in p. 2.

